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CO 109A - Rev. 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

 

 

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VS. ) Civil/Criminal No... 19-CR-125—

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GREGORY B. CRAIG )
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NOTE FROM JURY Clerk, U.S. District & Bankruptcy

Courts for the District of Columbia

 

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